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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA, ) °
) CASE NUMBER ‘) |~V\\- \W2- MA
Plaintiff, )
) Title 18, United States Code
VS. ) Section 1111(a)
)
JAVIER ESCALERA, )
)
)
Defendant. )
CRIMINAL COMPLAINT

 

I, Daniel D. Cook, the undersigned complainant being duly sworn state the following is

true and correct to the best of my knowledge and belief:
COUNT 1
MURDER IN THE SECOND DEGREE

On or about December 2, 2019, at Federal Correctional Institution in Greenville, Illinois,
a place within the special maritime and territorial jurisdiction of the United States in the
Southem District of Illinois,

JAVIER ESCALERA,

defendant herein, with malice aforethought did unlawfully kill Monte Gann in violation of Title

18, United States Code, Section 1111(a).

AFFIDAVIT

Your affiant, Daniel D. Cook, after being duly sworn, does hereby state that he is a Special
Agent (SA) with the Federal Bureau of Investigation (FBI) and has been so employed for 11 years,

and as such, is vested with the authority to investigate violations of Federal laws, including Titles
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18 and 21 of the United States Code. Your affiant also has six years prior Federal law enforcement
experience as a United States Postal Inspector and six years prior state law enforcement experience
as a municipal Police Officer for the City of Lincoln, Nebraska. Your affiant is currently assigned
to the Springfield Division of the FBI, Fairview Hei ghts, Illinois Resident Agency and has primary
investigative responsibilities for violent and drug crimes occurring in the Southern District of
Illinois.

The statements contained in this affidavit are based on the investigation of your Affiant, as
well as information derived from reports and interviews of the law enforcement officers and
witnesses named herein. In support of this Complaint, your Affiant states as follows:

1) Javier Escalera and Monte Gann shared cell number 234 in the Special Housing
Unit (SHU) at FCI — Greenville beginning on October 24, 2019.

2) On December 2, 2019, at approximately 7:25 p.m., Bureau of Prisons personnel at
FCI — Greenville responded to a duress alarm at cell 234. When Senior Officer Specialist P. Kelley
got to the cell, Escalera stated his, “cellie fell off the top bunk and hit his head.”

3) Gann laid unresponsive on the floor between the bunk and a corner desk within the
cell. Emergency medical services responded and attempted to revive Gann. Gann was pronounced
deceased at 7:43 p.m.

4) Dr. Marissa Feeney performed an autopsy on Gann on December 4, 2019. In her
report, she stated the cause of death was “Blunt Trauma of Head, Neck, Torso, and Extremities
with Skull, Neck, and Rib Fractures and Brain Injury.” Dr. Feeney’s report and photographs
documented extensive injuries all over Gann’s body. Dr. F eeney has stated that the
“overwhelming trauma” she observed would not be consistent with falling off a bed.

5) On December 3, 2019, the day after Gann’s death, Escalera hanged himself.
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Bureau of Prisons personnel observed him hanging from a noose around 2:30 p.m. Escalera was
cut down and BOP staff performed CPR and chest compressions, ultimately reviving him.

6) In January and February of 2020, Escalera shared a cell with M.C.! Escalera
admitted to M.C. that he and Gann engaged in a sexual relationship. During the time they shared
a cell together, Escalera told M.C. that on the night of the murder, Escalera wanted to engage in
sexual relations with Gann, but Gann did not want to. M.C. stated that Escalera admitted he got
angry, fought with Gann, “strangle him or hang him and he died.”

7) On February 12, 2020, Escalera and M.C. got into an argument over some food
M.C. had. Escalera attempted to strangle M.C. and said “I’m going to kill you the same way I
killed my cellie!”

8) On May 23, 2020, Escalera placed an outgoing call to an unknown individual
(UM1). The call was recorded, interpreted (Escalera and the individual had been speaking
Spanish), and transcribed. Of relevance:

Escalera: The only one who knows what happened in that room is me, man.
Do you understand me?

UMI: Yes.

Escalera: Therefore, I can talk to them so... Do you understand me? So they
do not give me that much time because, it is not like I wanted to kill
him, do you understand me? Just a bad hit and he died, man.

UMI1: Oh god! Damn it, man!
Escalera: Listen, depending on the charges, the maximum they can give me
is 15 years, man. And, if they say it is homicide, they can give me

life. But, I do not think they would give me life, man!

9) FCI — Greenville is within the special maritime and territorial jurisdiction of the

 

' Based upon the nature of the charge, the United States will not disclose the identity of this witness in this pleading
but can and will provide his name and criminal history in camera should the Court wish.
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United States. See 18 U.S.C. § 7(3).

FURTHER YOUR AFFIANT SAYETH NAUGHT.

= 1d

DANIEL D. COOK,
Special Agent, Federal Bureau of Investigation

 

State of Illinois )
) SS,
County of St. Clair )

Sworn to on the 8" day of July 2021, at East St. Louis, Illinois.

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MARK A. BEATTY
United States Magistrate ny “> e€

STEVEN D. WEINHOEFT
United States Attorney

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